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                               In the United States District Court
                                   for the District of Columbia


J.G.G. et al.,                                      Case No. 1:25-cv-00766-JEB

                 Plaintiffs;

LIYANARA SANCHEZ, as next friend
on behalf of FRENGEL REYES MOTA,
et al.,

                 Petitioners–Plaintiffs,

       v.                                           NOTICE OF APPEAL

DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,

                 Respondents–Defendants.


      PLEASE TAKE NOTICE that all Respondents–Defendants appeal to the

United States Court of Appeals for the District of Columbia Circuit from the order of

this Court entered in this case on June 4, 2025, docketed at ECF No. 147, and all

orders merging therewith.

                                             Respectfully submitted,

                                             Yaakov M. Roth
                                             Acting Assistant Attorney General
                                             Civil Division

                                             Drew C. Ensign
                                             Deputy Assistant Attorney General
                                             Office of Immigration Litigation

                                             August Flentje
                                             Special Counsel for Immigration




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                                  s/Tiberius T. Davis
                                  Tiberius T. Davis
                                  Counsel to the Assistant Attorney General
                                  Civil Division
                                  U.S. Department of Justice
                                  P.O. Box 878, Ben Franklin Station
                                  Washington, DC 20044-0878
                                  (202) 514-2000
                                  tiberius.davis@usdoj.gov

                                  Anthony Nicastro
                                  Acting Director
                                  Office of Immigration Litigation

                                  Ernesto Molina
                                  Deputy Director
                                  Office of Immigration Litigation

Dated: June 10, 2025              Counsel for Respondents–Defendants




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                                  Certificate of Service

      I hereby certify that I served this document on June 10, 2025, by filing it with

the Court’s CM/ECF system, which will electronically deliver the document to all

other parties or their counsel.

                                          s/Tiberius T. Davis
                                          Counsel for Respondents–Defendants
